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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          *
                                                   *
         v.                                        *     CRIMINAL NO. 23-cr-257 (TSC)
                                                   *
 DONALD J. TRUMP,                                  *
                                                   *
                 Defendant.                        *
                                                   *

           GOVERNMENT’S MOTION FOR A PRETRIAL CONFERENCE
        PURSUANT TO THE CLASSIFIED INFORMATION PROCEDURES ACT

        The Government has identified a small amount of classified information that may be

subject to discovery in this case. In such circumstances, the Classified Information Procedures

Act (“CIPA”), Pub. L. 96–456, 94 Stat. 2025, 18 U.S.C. App. 3 §§ 1–16, sets forth the process for

the handling, production, review, and use at trial of such materials.            By this motion, the

Government requests that the Court set a pretrial conference during or immediately after the

parties’ hearing on August 28, 2023, to discuss the CIPA procedures that will occur in this case.

Because the classified information at issue in this case is minimal, the CIPA process can and should

proceed in parallel with the rest of the schedule described in the Government’s concurrent filing

proposing a trial date.

                                       Background on CIPA

        CIPA sets forth procedures at the pretrial, trial, and appellate stages of a criminal case to

enable courts to protect a defendant’s right to due process, including the right to a fair trial, and to

protect the government’s interest in classified information, sources, and methods. See United

States v. Yunis, 867 F.2d 617, 621-23 (D.C. Cir. 1989); United States v. Baptista-Rodriguez, 17

F.3d 1354, 1363 (11th Cir. 1994). CIPA’s fundamental purpose is “protecting and restricting the

discovery of classified information in a way that does not impair the defendant’s right to a fair
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trial.” United States v. O’Hara, 301 F.3d 563, 568 (7th Cir. 2002); see United States v. Pappas,

94 F.3d 795, 799 (2d Cir. 1996). However, “CIPA does not create any discovery rights for the

defendant.” United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005); accord United States v.

Varca, 896 F.2d 900, 905 (5th Cir. 1990) (CIPA does not “expand the traditional rules of criminal

discovery” or require the government “to provide criminal defendants with information that is

neither exculpatory nor, in some way, helpful to the defense”); United States v. Mejia, 448 F.3d

436, 455 (D.C. Cir. 2006) (citing Yunis, 867 F.2d at 621-23).

       Certain potentially relevant provisions of CIPA here include:

           •   CIPA Section 2, which authorizes any party to move for a pretrial conference “to
               consider matters relating to classified information that may arise in connection with
               the prosecution.” The instant motion invokes Section 2 for the purpose of
               discussing with the Court and the defendant on August 28 the timing of classified
               discovery in this case, as well as requisite specific, written pretrial notice by the
               defense to the Government of any classified information the defendant reasonably
               expects to disclose and procedures concerning the use, relevance, and admissibility
               of classified information.

           •   CIPA Section 3, which requires the Court to issue a protective order to protect
               against the disclosure of any classified information that the Government discloses
               to the defense. 18 U.S.C. App. 3 § 2; see Pappas, 94 F.3d at 801. The Government
               anticipates filing a motion for such a protective order in advance of the hearing on
               August 28, as well as a motion to appoint a Classified Information Security Officer
               (“CISO”), who will be designated to assist the Court and defense counsel in the
               review and handling of classified material.

           •   CIPA Section 4, which authorizes the Court “upon a sufficient showing” to deny
               or otherwise restrict discovery by the defendant of classified documents and
               information belonging to the United States. 18 U.S.C. App. 3 § 4; see, e.g., United
               States v. Rezaq, 134 F.3d 1121, 1142 (D.C. Cir. 1998); Yunis, 867 F.2d at 619-25.
               The Government may make this showing in camera and ex parte. 18 U.S.C. App.
               3 § 4; see Mejia, 448 F.3d at 457-58 & n.21 (noting similarity to Federal Rule of
               Criminal Procedure 16(d)). Here, the Government may, at a future date, seek the
               Court’s determination pursuant to Section 4 regarding certain classified
               information.




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           •   CIPA Section 5, which requires the defense to specify any classified information it
               reasonably expects to disclose or cause the disclosure of at any trial or pretrial
               proceeding.

           •   CIPA Section 6, which permits the Government to request that the Court conduct a
               hearing to determine the use, relevance, and admissibility of classified information
               that may be subject to disclosure at trial, and which provides for alternative
               procedures for such disclosure.

                                            Conclusion

       The Government believes that the parties can efficiently address any scheduling matters

pursuant to CIPA on the same day as the already scheduled hearing before the Court on August 28

and respectfully requests that the Court schedule a pretrial conference then. For several reasons—

including the minimal amount of classified information potentially at issue here, and the fact that

one of the defendant’s attorneys of record already possesses an interim clearance to review certain

classified discovery—the Government does not expect the disclosure of classified material to

change or extend the pretrial schedule in this case.


                                                       Respectfully submitted,

                                                       JACK SMITH
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